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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 UNITED STATES OF AMERICA

                       Plaintiff,

 V.                                                         Case No. 12-CR-
 20272
                                                      Honorable Denise Page Hood

 FELICAR WILLIAMS (D-4),

                    Defendant.

                                                  /


  ORDER DENYING DEFENDANT FELICAR WILLIAMS’ MOTION FOR
    JUDGMENT OF ACQUITTAL AND MOTION FOR NEW TRIAL

         This matter comes before the Court on Defendant Felicar Williams’ Motion

 for Judgment of Acquittal [Docket No. 385, filed October 13, 2014] and Motion

 for New Trial [Docket No. 388, filed October 15, 2014]. The Government filed a

 Response to both Motions [Docket No. 395, filed November 17, 2014].

 I.      BACKGROUND

         Williams was indicted on April 26, 2012 and charged with violating 18

 U.S.C. § 1349, Health Care Fraud Conspiracy, and 18 U.S.C. § 371, Conspiracy to

 Pay and Receive Health Care Kickbacks. Williams was indicted for her role in a

 multimillion dollar health care fraud scheme that involved approximately 30

 companies in the Detroit area. Williams is believed to have billed Medicare for
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 home health care and psychotherapy services that were either not provided or not

 medically necessary.     Williams was also charged with paying kickbacks for

 Medicare information from Medicare beneficiaries whom Defendant used to

 defraud Medicare. Subsequent superseding indictments did not change the nature

 of the charges against Williams.

       The jury trial began in this matter on July 14, 2014. On September 30, 2014,

 the jury rendered its verdict finding Williams guilty on one count of conspiracy to

 commit health care fraud (18 U.S.C. § 1349) and one count of conspiracy to pay

 health care kickbacks (18 U.S.C. § 371). [Docket No. 377, Verdict Form]

 II.   ANALYSIS

       A.     Standards for Motions for Under Rules 29 and 33

              1.    Rule 29 Motion for Judgment of Acquittal

       Williams requests a judgment of acquittal under Rule 29 of the Federal

 Rules of Criminal Procedure based on insufficient evidence to support a

 conviction. To support a motion for judgment of acquittal the court must consider,

 “whether, after reviewing the evidence in the light most favorable to the

 prosecution, any rational trier of fact could have found the essential elements of the

 crime beyond a reasonable doubt.” United States v. Caseer, 399 F.3d 828, 839-40

 (6th Cir. 2005); Jackson v. Virginia, 443 U.S. 307, 319 (1979). A defendant

 claiming insufficiency of the evidence bears a heavy burden. United States v.


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 Jackson, 473 F.33d 660, 669 (6th Cir. 2007). The court is bound to make all

 reasonable inferences and credibility choices in support of the jury’s verdict. Id. at

 669-70. The question is merely one of legal sufficiency; the court does not

 substitute its judgment for that of the jury, independently weigh the evidence, or

 judge the credibility of trial witnesses. United States v. Ramirez, 635 F.3d 249,

 255-56 (6th Cir. 2011). There is a strong presumption in favor of sustaining a jury

 conviction. United States v. Peters, 15 F.3d 540, 544 (6th Cir. 1994).

              2.     Rule 33 Motion for a New Trial

       Alternatively, Williams seeks a new trial under Rule 33 “in the interest of

 justice” for several reasons: the government failed to prove each element of every

 count beyond a reasonable doubt; Williams was unable to confront significant

 witnesses; and the government committed several acts of prosecutorial misconduct

 causing an unfair trial. The government responds that the evidence presented

 during the twelve-week trial was sufficient to support the verdict, the evidence was

 properly admitted, and there was no prosecutorial misconduct.

       Rule 33(a) provides that “[u]pon the defendant's motion, the court may

 vacate any judgment and grant a new trial if the interest of justice so requires.”

 Fed. R. Crim. P. 33(a). When faced with a Rule 33 motion, unlike a motion for

 judgment of acquittal under Rule 29, the district court may weigh the evidence and

 assess the credibility of the witnesses—“[i]t has often been said that [the trial


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 judge] sits as a thirteenth juror” when considering a Rule 33 motion. United States

 v. Lutz, 154 F.3d 581, 589 (6th Cir. 1998). A motion for new trial is premised on

 the argument that the jury’s verdict was against the manifest weight of the

 evidence. United States v. Hughes, 505 F.3d 578, 593 (6th Cir. 2007). Such

 motions are generally granted only in the extraordinary circumstance where the

 evidence preponderates heavily against the verdict. Id. at 592-93. In general,

 motions for a new trial are disfavored and should be granted with caution. United

 States v. Seago, 930 F.2d 482, 488 (6th Cir. 1991). A district court’s decision to

 admit or exclude evidence is reviewed for abuse of discretion and, even if an abuse

 is found, a new trial is not required unless the defendant’s substantial rights were

 affected by the admission or exclusion of the evidence. See, United States v.

 Bonds, 12 F.3d 540, 554 (6th Cir. 1993); Fed. R. Crim. P. 52(a).

       B.     Arguments/Elements

       Williams makes several arguments to support her claim for judgment of

 acquittal under Rule 29 and for new trial under Rule 33. Some of the arguments

 overlap. Williams first claims that the jury’s verdict is against the great weight of

 the evidence under Rule 29 or that the government failed to prove all of the

 elements of the offenses with which she is charged under Rule 33.

       Relative to her motion for new trial under Rule 33, she also claims that the

 government engaged in prosecutorial misconduct by intimidation of defense


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 witnesses, and improper closing argument regarding admission of Fed. R. Evid.

 404(b) evidence. In addition, Williams claims the admission of Exhibit 127G, the

 Summary Chart of fraudulent claims, was improper because she was unable to

 confront (as a witness) the “biller” of the claims, who was not called as a witness.

       Williams argues that the only evidence against her to support the charges of

 conspiracy to commit health care fraud and conspiracy to receive illegal kickbacks

 come from co-defendant Sachin Scharma, Barbara Humes and LaTonya Odom.

 These witnesses were all in some way involved in the scheme of fraud at the Haven

 Adult Care facility of which Scharma testified Williams was part owner or at least

 operator of the programs.

       The elements of conspiracy to commit health care fraud are: 1) that two or

 more persons, in some way or manner, come to a mutual understanding to try to

 commit health care fraud; and 2) that the defendant knowingly and voluntarily

 joined in the conspiracy. 18 U.S.C. § 1349.

       The elements of health care fraud are: 1) there was a scheme or artifice to

 defraud a health care benefit program in connection with the delivery of or

 payment for health care benefits, items, or services; 2) the defendant knowingly

 and willfully executed or attempted to execute this scheme or artifice to defraud;

 and 3) the defendant acted with intent to defraud. 18 U.S.C. § 1347.




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       The elements of conspiracy to pay and receive health care kickbacks are: 1)

 that the defendant knowingly and willfully offered or paid, or solicited or received

 money or other remuneration to or from another individual; 2) that the money or

 other remuneration was paid or received primarily in order to induce the person to

 do one of the following: (a) to refer an individual to a person for the furnishing

 and or arranging for the furnishing of an item or service that could be paid for, in

 whole or in part by a federal health care program; or (b) to purchase, lease, order or

 arrange or recommend purchasing, leasing or ordering any good, facility, service or

 item that could be paid for, in whole or in part, by a federal health care program;

 and (c) that the patient’s services were covered in whole or in part, by Medicare;

 and (4) Medicare is a Federal health care program. 18 U.S.C. § 371.

       C.     Conspiracy to Commit Health Care Fraud

       The testimony at trial showed that Williams either owned of directed the

 operations at Haven and agreed with co-defendant Sachin Scharma and others to

 commit health care fraud by submitting false claims to Medicare. More

 specifically, Sharma, a cooperating co-defendant and leader of the conspiracy,

 testified that Williams ran the day to day operations at Haven and co-owned it with

 him. He testified that no psychotherapy was given to patients at Haven, but that

 Haven received money from Medicare. Barbara Humes, a social worker employed

 by Sharma, also implicated in the conspiracy, corroborated that Williams ran the


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 day to day operations at Haven and that fraudulent progress notes and billing

 sheets were prepared at Williams’ direction. Humes testified that Williams

 directed how to support psychotherapy either individual or group on certain days,

 selected so that such therapy did not take place on consecutive days and could be

 billed to Medicare. Other witnesses supported the testimonies of Sharma and

 Humes, including the testimony of LaTonya Odom who was hired by Williams as

 a social worker but was not licensed as a social worker.

       The testimony showed that Williams instructed employees at Haven to

 complete progress notes indicating that the employees provided psychotherapy to

 patients when the employees were either not qualified to deliver such services or

 the services provided were not psychotherapy. Williams was then given the

 fraudulently prepared progress notes and billing sheets which she then provided to

 the biller who used them to fraudulently submit claims to Medicare. This process

 included at least one instance when services were fraudulently provided to a person

 who was deceased. This testimony was supported by billing sheets and progress

 notes admitted into evidence and payment by Medicare. All this testimony and

 documentary evidence was apparently believed by the jury.

       Williams claims she presented evidence contrary to the government’s case,

 including evidence to show the government’s witnesses were not credible.

 Williams argues there was no evidence, except the testimony of Sharma, that she


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 was an owner of Haven. Williams claims the testimony of her mother, Carolyn

 Wright, and that of her brother, an attorney, refute Sharma’s testimony that she was

 an owner of Haven. The testimonies of these witnesses was that they were involved

 in the renovation of the building in which Haven was housed.

       Williams also argues that there is no documentary evidence to support her

 connection with any forms or the Medicare process; that her name is not on

 anything connected to the conspiracy to commit health care fraud. Williams

 asserts that there is no evidence to connect her to the billing of Medicare claims.

 Although witnesses testified that Williams gave the biller the progress notes or

 billing sheets, no biller testified at trial. Williams claims that the evidence cannot

 connect her to fraudulent billing without the testimony of the biller. Williams

 asserts that anyone with the appropriate billing identifiers could fraudulently bill

 Medicare, including other doctors associated with Haven. Williams presents no

 legal support for the requirement that the biller be called as a witness.

       Williams further claims that the elements of the offense of conspiracy to

 commit health care fraud cannot be met without the testimony of the biller.

 However, conspiracy may be shown by circumstantial evidence. United States v.

 Avery, 128 F.3d 966, 871 (6th Cir. 1997). “The connection between the defendant

 and the conspiracy need only be slight …” United States v. Walls, 293 F 3d 959,

 967 (6th Cir. 2002).


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       The government relies on circumstantial evidence: that Medicare paid on

 claims submitted by Haven; that Williams shut down Haven to patients on certain

 days and had employees come in to complete progress notes and billing sheets in

 the manner she specifically directed; that Medicare was billed based on the

 fraudulently prepared progress notes and billing sheets and that Medicare paid the

 fraudulent claims.

       The jury was charged with the elements of the crime of conspiracy to

 commit health care fraud and their responsibility to judge the credibility of the

 witnesses. The jury having been so instructed appears to have rejected much of the

 testimony of the defense witnesses and relied on the credibility of the

 government’s witnesses and based on both direct and sufficient circumstantial

 evidence reached a guilty verdict. Under Rule 29, reviewing the evidence in the

 light most favorable to the prosecution, the Court concludes that a rational trier of

 fact could find the essential elements of conspiracy to commit health care fraud

 had been proved beyond a reasonable doubt.

       Applying Rule 33, the Court finds that the evidence does not preponderate

 heavily against the verdict and even sitting as a “thirteenth juror” there was

 sufficient credible evidence to support a verdict of guilty. There was no testimony

 that refuted Williams’ direction of the day to day operations at Haven. No

 sufficient evidence refuted the testimony of Sharma. No credible testimony refuted


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 the testimony that Williams directed the fraudulent method of completing the

 progress notes and billing sheets. While no biller testified, circumstantial evidence

 supports that Williams, the operator of Haven, submitted the progress notes or

 billing sheets to someone to bill Medicare. Williams was able to argue before the

 jury that no biller testified and that others could have submitted fraudulent claims

 to Medicare, yet the jury did not find in her favor. The Court finds that “interests

 of justice” do not require a new trial as to the conspiracy to commit health care

 fraud.

          D.    Conspiracy to Pay and Receive Healthcare Kickback

          Williams also requests judgment of acquittal under Rule 29 and a new trial

 under Rule 33 claiming that the only evidence against her regarding the kickback

 scheme was that checks were given to her or to other employees to cash for her.

 Williams argues her defense that the money was used for expenses at Haven is un-

 refuted. Williams notes that only some checks noted “walker” in the notation line

 and that her witness, Mr. Walker testified that he never received any money from

 Williams for patients referred to Haven. He did, however, receive money for

 repairs and the purchase of a van for patient transportation. The government

 counters that the testimony of Sharma regarding his referral of Williams to co-

 defendant Abdul Al-Jumail and Ms. Odom’s testimony about the agreement




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 between Williams and co-defendant Abdul Al-Jumail (as well as Odom’s own

 participation in the scheme) support the charge of conspiracy to receive kickbacks.

       Subsequent billing of services provided to Haven patients by co-defendant

 Al-Jumail’s home health care companies, Associates in Home Care, Inc. and Swift

 Home Care LLC, corroborates the testimony of the witnesses against Williams.

 Even without discrediting Walker’s testimony that he received no payment for

 clients he sent to Haven, a rational jury could find that sufficient credible evidence

 was presented on each element of conspiracy to receive kickbacks based on

 payments to Williams and the billing of Haven patients by co-defendant Abdul Al-

 Jumail’s home health care companies. As to the conspiracy to receive health care

 kickbacks, Williams’ motions for judgment of acquittal under Rule 29 and for new

 trial under Rule 33 are denied.

       E.     Summary Chart

       Williams further requests a new trial because the Court erroneously admitted

 the Summary Chart, Government’s Exhibit 127g. The Court previously ruled that

 the Summary Chart testified to by Special Agent Fairbanks and Kelly Hartung, an

 employee of a CMS Medicare contractor, was properly admitted under Fed. R.

 Evid. 1006. The court incorporates by reference its trial decision that the Summary

 Chart was properly admitted under the rules of evidence. The jury could properly

 consider this evidence.


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       There is no support for Williams’ claim that the testimony of the biller was

 required for the admission of this exhibit. The Summary Chart summarized

 Hartung’s testimony as to the Medicare claims submitted and processed by CMS

 under Government’s Exhibit 120. The interests of justice do not require a new trial

 under Rule 33 relative to the admission of the Summary Chart.

       F.     Prosecutorial Misconduct

              1.     Witness Intimidation

       Under Rule 33, Williams’ motion for new trial is also denied as to her of

 prosecutorial misconduct. Williams claims that the prosecutor intimidated

 witnesses that she intended to call at trial. A separate record was made on

 Williams’ claim that witness Dawn (Singletary) Kirksey, an employee of Haven,

 was intimidated. See, In re Dawn Kirksey, Misc No. 2:14-mc-51139 (E.D. Mich.

 Sept. 2014). During that proceeding, Kirksey was appointed counsel to protect her

 Fifth Amendment rights and during the course of the hearing asserted those rights.

 At the conclusion of the hearing, the Court found Williams had not supported her

 claim of intimidation. The Court incorporates its ruling on the record at trial here

 by reference.

       In order for a defendant to prevail on a motion for new trial based on

 prosecutorial misconduct, the conduct must have been “so pronounced and

 persistent that it permeated the entire atmosphere of the trial” or “so gross as


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 probably to prejudice the defendant.” United States v. Emuegbunam, 268 F.3d

 377, 404 (6th Cir. 2001)(citation omitted). Even though it would have been better

 for the prosecution to have proceeded with more caution as to this witness, the

 actions of the prosecution do not rise to the level of prosecutorial misconduct

 requiring a new trial in the interest of justice under Rule 33. It must also be noted

 again that this witness exercised her Fifth Amendment right not to incriminate

 herself based on the advice of counsel appointed for her.

              2.     Rule 404(b) Evidence

        Williams also claims she is entitled to judgment of acquittal or new trial

 based on prosecutorial misconduct related to the admission evidence of Rule

 404(b) evidence regarding fraud at another facility, TGW Adult Day Care Facility.

 Odom testified that Williams had instructed her to prepare false notes at that

 agency. Williams was not charged for that conduct. At trial, the Court found this

 evidence was properly admissible and that proper instructions were given

 regarding the use of this evidence. Even if the government had improperly referred

 to this evidence during closing argument, any prejudice to Williams was cured by

 the jury instructions given by the Court. Therefore, the Court finds there is no

 support either under Rule 29 or Rule 33 for acquittal or for a new trial as to the

 admission of evidence of fraud at TGW.

 III.   CONCLUSION


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       For the reasons set forth above, Defendant Felicar Williams’ Motion for

 Judgment of Acquittal under Rule 29 and Motion for New Trial under Rule 33 are

 both, in all respects, DENIED.

       Accordingly,

       IT IS ORDERED that Defendant Felicar Williams’ Motion for Judgment of

 Acquittal [Docket No. 385, filed October 13, 2014] is DENIED.

       IT IS FURTHER ORDERED that Defendant Felicar Williams’ Motion for

 New Trial [Docket No. 388, filed October 15, 2014] is DENIED.



                                  S/Denise Page Hood
                                  Denise Page Hood
                                  United States District Judge

       Dated: September 24, 2015

      I hereby certify that a copy of the foregoing document was served upon
 counsel of record on September 24, 2015, by electronic and/or ordinary mail.

                                  S/LaShawn R. Saulsberry
                                  Case Manager




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